Case 1:20-cv-00817-LTB Document 12 Filed 05/04/20 USDC Colorado Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-00817-LTB

SCOTT M. RUNYON,

       Plaintiff,

v.

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

       Defendant.


                                      MINUTE ORDER

Entered by Michael E. Hegarty, United States Magistrate Judge, on May 4, 2020.

      In light of the reassignment of this case to the Honorable Lewis T. Babcock, the Scheduling
Conference currently set before this Court on May 18, 2020 is vacated.
